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                   Exhibit 1
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 TRUE THE VOTE PARTNERS
   WITH GEORGIANS IN
    EVERY COUNTY TO
     PREEMPTIVELY
    CHALLENGE 364,541
 POTENTIALLY INELIGIBLE
        VOTERS

True the Vote Partners with Georgians in Every County to Preemptively Challenge 364,541
Potentially Ineligible Voters
Citizen-led Effort Seeks to Confirm All Votes Cast in U.S. Senate Runoff Elections are Legal, While Ensuring
Any Voter Challenged Has Full Opportunity to Prove Their Voting Eligibility


ATLANTA, Georgia – True the Vote announced today it is submitting 364,541 Elector Challenges on behalf of
Georgia voters representing all 159 counties. An Elector Challenge is a unique feature in Georgia law (GA.
CODE ANN. § 21-2-230). It allows a voter to challenge the eligibility of any other voters in his or her county if
probable cause exists to show that the challenged voter does not meet the qualifications legally required to cast a
ballot. It represents one of the few vehicles that states have to update voter rolls ahead of an election without
compromising any legitimate voters’ right to have their vote counted.

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“Ongoing debates about the November election throughout the country have Americans focused intently on
improving the integrity of our elections and restoring the faith of voters. Today we assisted concerned Georgia
voters in taking a stand for the sanctity of every legal vote,” said Catherine Engelbrecht, the founder and
president of True the Vote. “It is our hope that this historic challenge marks the beginning of the great
awakening of American voters to serve our democracy by getting involved in the process.


“We are proud to be working alongside patriots from across the Peach State; Derek Somerville of Forsyth county
and Mark Davis of Gwinnett county who have been leading citizen efforts to highlight issues in Georgia’s voter
rolls, Mark Williams of Gwinnett County who coordinated among eight print shops to get written challenges
printed and delivered within 48 hours, and Ron Johnson of Jackson County and James Cooper of Walton County,
who led the charge in recruiting hundreds of volunteer challengers across the state,” Engelbrecht
continued. “Everyone pitched in. This is the power of citizen engagement and the core of what True the Vote
exists to do in our pursuit of free, fair and secure elections.”


Today’s landmark coordinated challenge is the result of True the Vote’s voter registry research, which identified
124,114 registered voters who no longer reside in the county of record and 240,427 voters who no longer reside
in the state of Georgia, according to filings with the United States Postal Service National Change of Address
(NCOA) and other supporting commercial databases. True the Vote’s research was performed uniformly across
all counties, without regard to any demographic or voting history.


“Filing the challenges preemptively, before absentee ballots are opened, will help ensure only legal, eligible
votes are counted in Georgia’s January 5 runoff elections,” Engelbrecht concluded.


According to Georgia law, an Elector Challenge must be filed before a vote is cast. Once a vote has been cast, or
in the case of absentee ballots, once the ballot has been removed from its signed envelope, there is no way to
identify which ballot belongs to the ineligible party.


In fact, the best way to ensure only eligible voters are voting in the upcoming runoff elections is through Elector
Challenges. States must comply with National Voter Registration Act standards in cleaning their voter rolls.
Under Section 8 of the National Voter Registration Act, states are required to conduct a general voter registration
list maintenance program that makes a reasonable effort to remove ineligible voters. The NVRA’s standards limit
removal of names only to very narrow conditions, with ineligible names remaining on the list over an extended
period of time.


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An Elector Challenge does not remove voter names from the registry. Voters who have been challenged will
have the opportunity, via GA. CODE ANN. § 21-2-230 to prove eligibility and still have their vote counted in
the upcoming runoff election.


“I’ve said since Election Day that I must follow the law in the execution of our elections, and I’ve also
encouraged Georgians to report any suspected problems for my office to investigate,” said Georgia Secretary of
State Brad Raffensperger. “Though federal law restricts our ability to update our voter registration lists, the
Elector Challenge is a vehicle under our law to ensure voter integrity. I support any effort that builds faith in our
election system that follows the proper legal procedure.”


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True the Vote (TTV) is an IRS-designated 501(c)3 voters’ rights organization, founded to inspire and equip
volunteers for involvement at every stage of our electoral process. TTV empowers organizations and individuals
across the nation to actively protect the rights of legitimate voters, regardless of their political party affiliation.
For more information, please visit www.truethevote.org.




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